                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

RENA JOHNSON,

               Plaintiff,

v.                                                          Civil Case No. 18-cv-00278
                                                            District Judge Aleta A. Trauger
OCWEN LOAN SERVICING, LLC,

               Defendant.

                 DEFENDANT OCWEN LOAN SERVICING, LLC’S
              ANSWER TO PLAINTIFF’S FIRST AMENDED COMPLAINT

                                       INTRODUCTION

       1.      This action arises out of Defendant’s repeated violations of the Telephone

Consumer Protection Act, 47 U.S.C. § 227, et seq. (“TCPA”).

               ANSWER: Ocwen denies the allegations set forth in Paragraph No. 1 of the

Complaint.

       2.      Defendant has placed hundreds of autodialed calls to Plaintiff’s cellular telephone

number in an attempt to collect a debt allegedly owed by Plaintiff.

               ANSWER: Ocwen denies the allegations set forth in Paragraph No. 2 of the

Complaint.

       3.      Plaintiff never provided Defendant with prior express consent to make these

telephone calls.

               ANSWER: Ocwen denies the allegations set forth in Paragraph No. 3 of the

Complaint. Plaintiff provided her cell phone number to Ocwen on multiple occasions, both orally

and in writing, dating as far back as 2006. Further still, Plaintiff signed multiple written




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agreements indicating that she consented to Ocwen contacting on her cell phone, and she

scheduled many call-back appointments with Ocwen during the time period relevant to this

Complaint in which she instructed Ocwen to call her on her cell phone, using the number at issue

in this Complaint.

       4.      Furthermore, Plaintiff expressly and repeatedly told Defendant to stop calling.

               ANSWER: Ocwen denies the allegations set forth in Paragraph No. 4 of the

Complaint.

       5.      Accordingly, Defendant’s actions violated the TCPA, and Plaintiff is entitled to

$500 to $1500 per call.

               ANSWER: Ocwen denies the allegations set forth in Paragraph No.5 of the

Complaint.

                                 JURISDICTION AND VENUE

       6.      This Court has subject matter jurisdiction under 28 U.S.C. § 1331, as this action

arises under the TCPA, which is a federal statute.

               ANSWER: Paragraph No. 6 states legal conclusions to which no response is

required. To the extent the allegations are contrary to the law, they are denied. To the extent any

facts are alleged in this paragraph, any such facts are denied.

       7.      This Court has personal jurisdiction over Defendant because Defendant conducts

significant amounts of business within this District and because its actions giving rise to the

claim were targeted at this District.

               ANSWER: Paragraph No. 7 states legal conclusions to which no response is

required. To the extent the allegations are contrary to the law, they are denied. To the extent any

facts are alleged in this paragraph, any such facts are denied.




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       8.      Venue is proper in this District under 28 U.S.C. § 1391(b) because a substantial

part of the events giving rise to the claim – the telephone calls – occurred in this District.

               ANSWER: Paragraph No. 8 states legal conclusions to which no response is

required. To the extent the allegations are contrary to the law, they are denied. To the extent any

facts are alleged in this paragraph, any such facts are denied.

                                             PARTIES

       9.      Plaintiff is a citizen and resident of Smyrna, Rutherford County, Tennessee.

               ANSWER:         Ocwen is without sufficient information to admit or deny the

allegations in Paragraph No. 9, and therefore denies the same and demands strict proof thereof.

       10.     Plaintiff is, and at all times mentioned herein was, a “person” as defined by 47

U.S.C. § 153 (39).

               ANSWER: Paragraph No. 10 states legal conclusions to which no response is

required. To the extent the allegations are contrary to the law, they are denied. To the extent any

facts are alleged in this paragraph, any such facts are denied.

       11.     On February 14, 2018, Plaintiff timely opted out of the settlement in Snyder v.

Ocwen Loan Servicing, LLC, Case No. 14-cv-08461 (N.D. Ill.).

               ANSWER:         Ocwen is without sufficient information to admit or deny the

allegations in Paragraph No. 11, and therefore denies the same and demands strict proof thereof.

       12.     Defendant Ocwen Loan Servicing, LLC (“Defendant” or “Ocwen”) is, and at all

times mentioned herein was, a Florida limited liability company with its principle place of

business located at 1661 Worthington Road Suite 100, West Palm Beach, Florida 33409.

               ANSWER: As to Paragraph No. 12, Ocwen states only that it is a Delaware

limited liability company with its principal place of business in West Palm Beach, Florida. The




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remaining allegations in Paragraph No. 12, if any, state a legal conclusion, to which no response

is required, but to the extent the allegations are contrary to the law, they are denied.

        13.    Defendant Ocwen is, and at all times mentioned herein was, a “person” as defined

by 47 U.S.C. § 153 (39).

               ANSWER: Paragraph No. 13 states legal conclusions to which no response is

required. To the extent the allegations are contrary to the law, they are denied. To the extent any

facts are alleged in this paragraph, any such facts are denied.

                                               FACTS

        14.    Defendant has placed hundreds of calls to Plaintiff’s cellular telephone number

ending in 0255.

               ANSWER: Ocwen denies the allegations set forth in Paragraph No. 14 of the

Complaint.

        15.    Upon information and belief, these calls began prior to October 27, 2010, but due

to the statute of limitations and the tolling pursuant to the Snyder v. Ocwen class action, which

was filed on October 27, 2014, Plaintiff only seeks damages for calls dating back to October 27,

2010.

               ANSWER: Ocwen denies the allegations set forth in Paragraph No. 15 of the

Complaint.

        16.    These calls were all to collect a debt allegedly owed by Plaintiff.

               ANSWER: Ocwen denies the allegations set forth in Paragraph No. 16 of the

Complaint.

        17.    Plaintiff never gave Defendant prior express consent to make these calls to her

cellular telephone.




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               ANSWER: Ocwen denies the allegations set forth in Paragraph No. 17 of the

Complaint. Plaintiff provided her cell phone number to Ocwen on multiple occasions, both orally

and in writing, dating as far back as 2006. Further still, Plaintiff signed multiple written

agreements indicating that she consented to Ocwen contacting on her cell phone, and she

scheduled many call-back appointments with Ocwen during the time period relevant to this

Complaint in which she instructed Ocwen to call her on her cell phone, using the number at issue

in this Complaint.

       18.     In fact, Plaintiff specifically told Defendant on several occasions to stop calling,

or words to that effect.

               ANSWER: Ocwen denies the allegations set forth in Paragraph No. 18 of the

Complaint.

       19.     Upon information and belief, Defendant records its calls, and was under an

obligation to preserve such recordings related to putative class members in the Snyder v. Ocwen

matter, so Defendant should have documentation of Plaintiff’s requests.

               ANSWER: Ocwen admits that it attempts to record all telephone calls where

communication occurs between live persons. Ocwen also admits that it was a named party in the

Snyder v. Ocwen matter. Ocwen is without sufficient information to admit or deny the remaining

allegations in Paragraph No. 19, and therefore denies the same and demands strict proof thereof.

       20.     Nonetheless, despite not having consent in the first place and despite Plaintiff’s

requests that Defendant stop calling, Defendant continued to call.

               ANSWER: Ocwen denies the allegations set forth in Paragraph No. 20 of the

Complaint.




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       21.    All of the calls were made using an “automatic telephone dialing system” as

defined at 47 U.S.C. § 227(a)(1) and as explained in subsequent FCC regulations and orders. The

system(s) used by Defendant to call Plaintiff has/have the capacity to store or produce telephone

numbers to be called, using a random or sequential number generator.

              ANSWER: Ocwen denies the allegations set forth in Paragraph No. 21 of the

Complaint and asserts that its telephone system does not qualify as an automatic telephone

dialing system because it does not have the capacity to store or produce telephone numbers to be

called, using a random or sequential number generator.

       22.    Specifically, Defendant used a dialer provided by Aspect Software, Inc. (“Aspect

Dialer”) which has been repeatedly found to be an “automatic telephone dialing system” under

the TCPA.

              ANSWER: Ocwen admits that part of its telephone system includes a telephone

system provided by Aspect but denies the allegations set forth in Paragraph No. 22 of the

Complaint.

       23.    This is evidenced by the volume of the calls and the inability to stop the calls.

              ANSWER: Ocwen denies the allegations set forth in Paragraph No. 23 of the

Complaint.

       24.    According to a filing in the Ocwen class action, Defendant used the Aspect Dialer

to place nearly 2.5 million calls per month or 172 calls per minute, seven days a week, from

January 2011 to December 2015.

              ANSWER: Ocwen denies the allegations set forth in Paragraph No. 24 of the

Complaint as it is unclear what “Ocwen class action” references.




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       25.     The Aspect Dialer has the capacity to store or produce telephone numbers to be

called and to dial such numbers.

               ANSWER: Ocwen denies the allegations set forth in Paragraph No. 25 of the

Complaint as the Aspect system that Ocwen uses does not have this capacity.

       26.     Defendant’s actions in making telephone calls using an automatic telephone

dialing system to Plaintiff before obtaining prior express consent and continuing to call after any

such consent it believed it had was revoked, violate 47 U.S.C. § 227(b).

               ANSWER: Ocwen denies the allegations set forth in Paragraph No. 26 of the

Complaint.

       27.     Defendant’s actions were willful and/or knowing because Defendant made the

calls of its own volition and continued to do so after being asked to stop, requests which

Defendant ignored and/or failed to record.

               ANSWER: Ocwen denies the allegations set forth in Paragraph No. 27 of the

Complaint.

       28.     Plaintiff has suffered concrete harm because of Defendant’s telephone calls,

including, but not limited to, tying up her telephone line with unsolicited calls, lost time tending

to the unwanted telephone calls and responding to Defendant’s unlawful conduct, the invasion of

her privacy by calls continuing after she asked Defendant to stop calling, aggravation, and

nuisance.

               ANSWER: Ocwen denies the allegations set forth in Paragraph No. 28 of the

Complaint.

       29.     These forms of concrete harm are sufficient for Article III standing purposes.




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               ANSWER: Ocwen denies the allegations set forth in Paragraph No. 29 of the

Complaint.

       30.     Plaintiff is entitled to statutory damages and injunctive relief for these violations

of the TCPA.

               ANSWER: Ocwen denies the allegations set forth in Paragraph No. 30 of the

Complaint.

       31.     For violations of 47 U.S.C. § 227(b), Plaintiff is entitled to $500 to $1500 per call.

               ANSWER: Ocwen denies the allegations set forth in Paragraph No. 31 of the

Complaint.

       32.     Pursuant to the settlement agreement in the Ocwen class action, if Defendant is

found to be liable for a TCPA violation where a plaintiff had revoked consent and Defendant

continued to call, Defendant has agreed to pay $1,000 per call for the first 10 calls, $1,250 for

calls 11-50, and $1,500 for each additional call beyond 50.

               ANSWER: Ocwen denies the allegations set forth in Paragraph No. 32 of the

Complaint as it does not know what “Ocwen class action” Plaintiff is referencing.


                                 FIRST CAUSE OF ACTION
                     Violations of the TCPA, 47 U.S.C. § 227(b)(1)(A)(iii)

       33.     Plaintiff incorporates the foregoing allegations as if fully set forth herein.

               ANSWER: Ocwen repeats and re-alleges its responses to the allegations set forth

above as though fully set forth herein.

       34.     Defendant placed calls to Plaintiff’s telephone number without prior express

consent, and after Plaintiff asked Defendant to stop.




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               ANSWER: Ocwen denies the allegations set forth in Paragraph No. 34 of the

Complaint.

       35.     Plaintiff’s telephone number is assigned to a cellular telephone service.

               ANSWER:        Ocwen is without sufficient information to admit or deny the

allegations in Paragraph No. 35, and therefore denies the same and demands strict proof thereof.

       36.     As alleged, these calls all used an “automatic telephone dialing system.”

               ANSWER: Ocwen denies the allegations set forth in Paragraph No. 36 of the

Complaint.

       37.     The calls were not placed for “emergency purposes” as defined by 47 U.S.C. §

227(b)(1)(A)(i).

               ANSWER: Ocwen denies the allegations set forth in Paragraph No. 37 of the

Complaint.

       38.     Plaintiff is entitled to an award of $500 in statutory damages for each call,

pursuant to 47 U.S.C. § 227(b)(3)(B).

               ANSWER: Ocwen denies the allegations set forth in Paragraph No. 38 of the

Complaint.

       39.     Plaintiff is entitled to an award of treble damages in an amount up to $1,500 for

each call made knowingly and/or willfully, pursuant to 47 U.S.C. § 227(b)(3).

               ANSWER: Ocwen denies the allegations set forth in Paragraph No. 39 of the

Complaint.

                               SECOND CAUSE OF ACTION
                         Invasion of Privacy/Intrusion Upon Seclusion

       [sic] Plaintiff incorporates the foregoing allegations as if fully set forth herein.




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               ANSWER: Ocwen repeats and re-alleges its responses to the allegations set forth

above as though fully set forth herein.

       40.     Separate and apart from Defendant’s TCPA violations, Defendant's conduct of

calling Plaintiff after she asked them, on numerous occasions, to stop (up to and including

threatening litigation if the calls continued) constituted an unreasonable intrusion upon Plaintiff's

seclusion and interfered with her right to be left alone.

               ANSWER: Ocwen denies the allegations states in Paragraph No. 40 of the

Complaint.

       41.     These telephone calls were repeated with such persistence and frequency as to

amount to a course of hounding and harassing Plaintiff and would be highly offensive to a

reasonable person.

               ANSWER: Ocwen denies the allegations states in Paragraph No. 41 of the

Complaint.

       42.     As a result of the calls, Plaintiff suffered from anger, anxiety, and frustration, not

to mention the loss of her ability to use her phone for the duration of the calls.

               ANSWER: Ocwen denies the allegations states in Paragraph No. 42 of the

Complaint.


       43.     As a result, Plaintiff is entitled to an award of actual damages. Plaintiff is also

entitled to an award of punitive damages

               ANSWER: Ocwen denies the allegations states in Paragraph No. 43 of the

Complaint.




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                                     PRAYER FOR RELIEF

       44.     Ocwen denies the allegations in the “Wherefore” Paragraph following Paragraph

No. 43 and all subparagraphs.

       45.     Ocwen denies that it is liable to the Plaintiff in any manner whatsoever for the

requests for relief set forth in the Compliant.

       46.     Ocwen denies that it is liable to the Plaintiff in any amount whatsoever under any

theory whatsoever.

       47.     All allegations not specifically admitted herein are denied.

       48.     Ocwen reserves the right to rely upon any and all defenses as may become known

through discovery or trial.

       49.     Ocwen reserves the right to amend this Answer to the Complaint to conform to

the evidence as determined in discovery or at trial.

                                    AFFIRMATIVE DEFENSES
       Without admitting any of Plaintiff’s allegations, Ocwen alleges the following defenses

based on information and belief. All possible defenses may not have been alleged herein, insofar

as sufficient facts were not available after reasonable inquiry upon the filing of this Answer.

Therefore, Ocwen reserves its right to allege additional defenses if subsequent investigation so

warrants.

                                         FIRST DEFENSE
       1.      Any damages suffered by Plaintiff was due to her own affirmative actions and/or

omissions and do not give rise to any liability of Ocwen.

                                       SECOND DEFENSE

       2.      Claims asserted by Plaintiff may be barred by any bankruptcy case that may have

been filed by Plaintiff, based on the doctrines of res judicata, judicial estoppel, 11 U.S.C. §

1327(a), 11 U.S.C. § 704, 11 U.S.C. § 541, waiver, equitable estoppel, unclean hands, and


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release. Moreover, because of any such prior proceedings, if any, Plaintiff is not the real party in

interest to bring the present claims.

                                          THIRD DEFENSE

       3.         To the extent Plaintiff’s claims are based on conduct occurring beyond the

applicable statutes of limitations or violate the doctrine of laches, they are barred as being

untimely.

                                         FOURTH DEFENSE

       4.         Plaintiff’s injuries, if any, resulted from an intervening or superseding cause or

the acts or omissions of third parties over which Ocwen had no responsibility or control, and for

which Ocwen may not be held liable.

                                              FIFTH DEFENSE
       5.         Plaintiff’s claims must fail to the extent that Plaintiff failed to mitigate damages,

if any, and/or failed to act with reasonable diligence.

                                              SIXTH DEFENSE

       6.         Plaintiff’s claims are barred by the doctrines of waiver, estoppel (including

collateral estoppel and judicial estoppel), release, consent, ratification, acquiescence, novation,

and/or unclean hands.

                                        SEVENTH DEFENSE

       7.         Plaintiff’s claims are barred, in whole or in part, by the doctrines of recoupment

and/or set-off.

                                         EIGHTH DEFENSE

       8.         Plaintiff lacks standing.

                                          NINTH DEFENSE

       9.         Defendant obtained prior express consent to contact Plaintiff on the telephone

number(s) at issue regarding the subject account.

                                          TENTH DEFENSE

       10.        Plaintiff’s state law claims are preempted by federal law.


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                                RESERVATION OF DEFENSES

          Ocwen reserves the right to assert additional defenses as discovery progresses. To the

extent that any of the foregoing allegations in the Complaint have not been expressly admitted or

denied, they are hereby denied.

                                     PRAYER FOR RELIEF

          WHEREFORE, Ocwen requests that the Court enter an order:

          1.     Dismissing with prejudice the Complaint against it;

          2.     Awarding Ocwen its costs and expenses incurred; and

          3.     Awarding Ocwen such other and/or further relief as the Court may deem just and

proper.




Dated: May 29, 2018

                                                      /s/      John I Houseal, Jr.
                                                      John I. Houseal, Jr. (TN Bar #8449)
                                                      GLANKLER BROWN, PLLC
                                                      6000 Poplar Avenue, Suite 400
                                                      Memphis, Tennessee 38119
                                                      Telephone: (901) 525-1322
                                                      Facsimile: (901) 525-2389
                                                      Email: dhearn@glankler.com


                                                      /s/    Virginia Bell Flynn
                                                      Virginia Bell Flynn
                                                      To Be Admitted Pro Hac Vice
                                                      TROUTMAN SANDERS LLP
                                                      1001 Haxall Point, Suite 1500
                                                      Richmond, VA 23219
                                                      Telephone: (804) 697-1480
                                                      Facsimile: (804) 697-1339
                                                      E-mail: virginia.flynn@troutman.com

                                                      Attorneys for Ocwen Loan Servicing, LLC




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                           CERTIFICATE OF CM/ECF SERVICE

       The undersigned attorneys hereby certify that on this 29th day of May, 2018, the

foregoing Answer to Complaint was filed via the CM/ECF system for the Middle District of

Tennessee, which electronically sent notice to the following counsel of record:

                           Jeremy M. Glapion, Esquire
                           THE GLAPION LAW FIRM, LLC
                           1704 Maxwell Drive
                           Wall, NJ 07719
                           Tel.: (732) 455-9737
                           Fax: (732) 709-5150
                           Email: jmg@glapionlaw.com

                           T. Blaine Dixon, Esquire
                           FENDLEY & ETSON
                           128 Public Square
                           Clarksville, TN 37040
                           Tel.: (931) 245-4357
                           Fax: (931) 245-0343
                           Email: blaine@fendleylaw.com

                           Counsel for Plaintiff

                                                    /s/      John I. Houseal, Jr.
                                                    John I. Houseal, Jr. (TN Bar #8449)
                                                    GLANKLER BROWN, PLLC
                                                    6000 Poplar Avenue, Suite 400
                                                    Memphis, Tennessee 38119
                                                    Telephone: (901) 525-1322
                                                    Facsimile: (901) 525-2389
                                                    Email: dhearn@glankler.com

                                                     /s/   Virginia Bell Flynn
                                                    Virginia Bell Flynn
                                                    To Be Admitted Pro Hac Vice
                                                    TROUTMAN SANDERS LLP
                                                    1001 Haxall Point, Suite 1500
                                                    Richmond, VA 23219
                                                    Telephone: (804) 697-1480
                                                    Facsimile: (804) 697-1339
                                                    E-mail: virginia.flynn@troutman.com

                                                    Attorneys for Ocwen Loan Servicing, LLC



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